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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA
MINUTE ENTRY:
September 16, 2020
DISTRICT JUDGE JOHN W. deGRAVELLES

BLAIR IMANI, et al.
                                                              CIVIL ACTION
VERUS
                                                              NO. 17- 439-JWD-RLB
CITY OF BATON ROUGE, et al.

       This matter came on this day for oral argument by Zoom Video Conferencing on EBRSO

Defendants’ Motion to Dismiss (Doc. 200).

       Present were         John Nelson Adcock, David Joseph Lanser,
                            William Brock Most,
                            Counsel for Plaintiffs

                            Catherine S. St. Pierre
                            Counsel for Defendants Sheriff Sid J. Gautreaux, III, in his
                            capacity as Sheriff of East Baton Rouge Parish (“Sheriff
                            Gautreaux”)Marshall Menou, James Jamison, Troy Banks,
                            Calvin Prater, Brandon McCall, Jason Jones, Harry Howard,
                            Justin Walker (“Individual EBRSO Deputies”) and AIX
                            Group, doing business as NOVA CASUALTY COMPANY
                            (“Nova”) (sometimes collectively referred to as (“EBRSO
                            Defendants”)

       Counsel presented arguments.

       For oral reasons assigned, the Motion to Dismiss (Doc. 200) filed by the EBRSO

Defendants is GRANTED, and all claims by Plaintiffs against the EBRSO Defendants are

DISMISSED WITH PREJUDICE.

       Signed in Baton Rouge, Louisiana, on September 16, 2020.


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Cv 25a T: 1:15                        JUDGE JOHN W. deGRAVELLES
Reporter: Gina Delatte-Richard        UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA
